Case 2:04-cr-20394-BBD Document 18 Filed 07/08/05 Page 1 of 2 PagelD 20

lN THE uNiTED sTATEs DisTRicT couRT m M___ o.c.
FOR THL=. WESTERN DlsTRlcT oF TENNEssEE

 

WEsTERN DlvlsioN 35 JuL -3 ph w |2
mate ll. GOtLD
uNlTED sTATES oF AMERicA u.s. DSlRlGTOCIBT
w ct €:l_ trauma
P|aintiff
vs.
cR. No. 04-20394-0
MAuRicE cALLAWAY
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the July 5, 2005 trial date and requested a Change
of Plea hearing date.

The Court granted the request and reset the trial date to August 1, 2005 with a
Chan e of Plea hearin date of Wednesda Ju| 20 2005 at 1:15 .m., in Courtroom

 

3 9th Floorof the Federal Bui|ding, |V|emphis, TN.

 

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy trial.

lT is so oRDERED this j day of July, 2005.

RN|CE B. D ALD
UN|TED STATES D|STR|CT JUDGE

` ': » . 4 v
.. c a _,. l t t
ll n tp g 910 9 d r“‘t_: 3 E.e - >‘ a 9

..u.e ..; di.‘.t,"or ;j.>_`('o) F`l%CrP on 2“/3"0»5 / g
___ ~_.__.._“__h

     

UNITED sATE DsTIIC COURT - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
ease 2:04-CR-20394 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

